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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  MARK BAKER, CORNERSTONE
  GROWTH, LP, and all others similarly
  situated,                                                        CLASS ACTION

         Plaintiffs,                                               JURY TRIAL DEMAND
  v.

  COMERICA BANK,

        Defendant.
  ________________________________/

                                  CLASS ACTION COMPLAINT

         Plaintiffs Mark Baker and Cornerstone Growth LP, on behalf of themselves and all others

  similarly situated, sue Defendant Comerica Bank (“Comerica”) on the grounds set forth below.

                                         INTRODUCTION

         1.      Plaintiffs bring this action on behalf of a proposed class of thousands of individuals

  who invested more than $1.2 billion in a series of related investment vehicles managed by Robert

  Shapiro under the Woodbridge name (the “Woodbridge Entities” or “Woodbridge”). Shapiro and

  his agents represented to investors that Woodbridge would use their funds to pay short-term, high-

  interest loans to third-party commercial real estate buyers who had not qualified for loans

  elsewhere. Woodbridge issued investors twelve- to eighteen-month promissory notes for these

  investments, called “First Position Commercial Mortgages” (“FPCMs”), which were purportedly

  secured by first-priority liens in the subject properties. Shapiro and his agents promised investors

  a 5-8% rate of return, to be paid from the even higher interest rates charged to third-party buyers.

  Woodbridge purportedly lent the buyers no more than two-thirds of the value of the properties

  purchased, further ensuring investors that their investments and interest payments would be
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  covered.       Woodbridge also managed seven private-placement fund offerings (the “Fund

  Offerings”), which pooled investor money for similar “loans” for five-year terms.

            2.     The Woodbridge investments were a classic Ponzi scheme, masterminded by

  Shapiro. The third-party commercial real estate buyers who took “mortgages” from Woodbridge

  investors were, in fact, hundreds of shell LLCs owned and controlled by Shapiro. The LLCs had

  no sources of income or bank accounts, and never made any loan payments to Woodbridge.

  Shapiro kept the operation afloat by pursuing a continuous infusion of new-investor funds, which

  he would then use to make interest and principal payments to earlier investors, pay commissions

  to his sales agents, and fund his extravagant lifestyle. When FPCM investors’ twelve- to eighteen-

  month promissory notes would come due, Woodbridge would encourage them to roll their

  investments over into one of his five-year term fund offerings or sign another short-term

  promissory note, thus postponing the date on which Woodbridge would be required to pay the

  principal balance of the investors’ “loans.”

            3.     Defendant Comerica Bank held and managed the Woodbridge bank accounts,

  through which Shapiro ran thousands of transactions and more than a billion dollars to operate his

  fraudulent scheme. Shapiro commingled Woodbridge funds among the Comerica accounts, and

  withdrew funds freely for purposes inconsistent with an investment manager’s duties to his

  investors. Shapiro was the sole signatory on all Woodbridge accounts at Comerica for the duration

  of his fraudulent scheme, and hand-signed every check to Woodbridge’s investors and sales agents.

            4.     On December 1, 2017, after almost five years in operation, Woodbridge and

  Shapiro missed their first interest payments to investors. Days later, on December 4, 2017, Shapiro




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  caused most of his companies to be placed into Chapter 11 bankruptcy. Shapiro and Woodbridge

  still owe more than $961 million to investors in the Woodbridge scheme.

            5.   On December 20, 2017, the United States Securities and Exchange Commission

  (the “SEC”) filed a multi-count complaint in the Southern District of Florida against Shapiro, his

  wife Jeri, and numerous Woodbridge-related entities, bringing counts for violations of the

  Securities and the Exchange Act, including claims for violations of Section 10(b) and 10b-5, and

  for control-person liability. See SEC v. Shapiro, No. 1:17-cv-24624-MGC (S.D. Fla.) (the “SEC

  Enforcement Action”).

            6.   Plaintiffs bring this action on behalf of a class of investors seeking to recover their

  losses resulting from the Woodbridge Ponzi scheme.

                           PARTIES AND RELEVANT NON-PARTIES

            A.   PLAINTIFFS
            7.   Plaintiff Mark Baker is a citizen of the State of Florida and resides in Weston,

  Florida. Mr. Baker has invested more than $400,000 with Woodbridge.

            8.   Plaintiff Cornerstone Growth LP (“Cornerstone Growth”) is a limited partnership

  with its principal place of business in Las Vegas, Nevada. Cornerstone Growth invested $50,000

  with Woodbridge.

            B.   DEFENDANT

            9.   Defendant COMERICA BANK is a Texas banking association with its principal

  place of business in Dallas, Texas. Comerica is chartered in the State of Texas and subject to

  supervision and regulation by the Texas Department of Banking under the Texas Finance Code.

  Comerica Bank is also a member of the Federal Reserve System under the Federal Reserve Act

  and thus subject to federal regulations.


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            10.   Comerica Bank is a subsidiary of Comerica Incorporated, which is incorporated

  under Delaware law and headquartered in Dallas, Texas.

            11.   Comerica Incorporated acknowledged in its 2016 Form 10-K, that it and its

  subsidiaries are subject to United States anti-money laundering laws and regulations. Comerica

  Incorporated represents on its website that it “and all of its subsidiaries, including Comerica Bank,

  comply with the Bank Secrecy Act (BSA) and USA PATRIOT Act requirements.”1

            12.   All Woodbridge bank accounts were maintained at Comerica.

            C.    RELEVANT NON-PARTIES

            13.   Robert H. Shapiro is a citizen of Sherman Oaks, California, maintains a residence in

  Aspen, Colorado, and is registered to vote in Florida. His voter information lists a South Florida

  address. Before December 2017, Shapiro served as Woodbridge’s CEO, trustee of the RS Protection

  Trust, and sole owner and operator of most of the entities comprising the Woodbridge Group

  Enterprise. Woodbridge was the principal operating company of Shapiro’s businesses and

  employed approximately 140 people in offices in six states, including Florida.

            14.   At all relevant times, Shapiro maintained complete control over the Woodbridge

  entities and was the sole signatory on Woodbridge’s bank accounts at Comerica.

            15.   The Woodbridge Group Enterprise operates through a network of affiliated

  companies that own the various assets comprising its business. All of these companies are directly

  or indirectly owned by RS Protection Trust.

            16.   Woodbridge Group of Companies, LLC is a financial company based in Sherman

  Oaks that was formed in 2014. It served as the main company through which Shapiro operated the



  1
         Comerica     Bank,     Anti-Money      Laundering    Compliance,             available      at
  http://investor.comerica.com/phoenix.zhtml?c=114699&p=irol-govmoney.
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  Woodbridge Group Enterprise during the relevant time period. It consisted of approximately 140

  employees across six states, including employees located in Boca Raton, Florida, where

  Woodbridge Group of Companies, LLC formerly operated as Woodbridge Structured Funding,

  LLC, was headquartered as recently as September 2016, according to an annual report filed by

  Shapiro with the Florida Division of Corporations.

            17.   RS Protection Trust is an irrevocable trust settled under Nevada law and controlled

  by Shapiro. He serves as the trustee, and members of his family are the sole beneficiaries of the

  trust. RS Protection Trust holds all of Shapiro’s business entities and personal assets, including

  Woodbridge Group Enterprise companies.

            18.   WMF Management, LLC is a California LLC controlled by Shapiro. WMF is a

  holding company for many of the companies comprising the Woodbridge Group Enterprise, all of

  which Shapiro controlled and operated, and which include Woodbridge Group of Companies, LLC,

  Woodbridge Mortgage Investment Fund 1, LLC, Woodbridge Mortgage Investment Fund 2, LLC,

  Woodbridge Mortgage Investment Fund 3, LLC, Woodbridge Mortgage Investment Fund 3A, LLC,

  Woodbridge Mortgage Investment Fund 4, LLC, Woodbridge Commercial Bridge Loan Fund 1,

  LLC, and Woodbridge Commercial Bridge Loan Fund 2, LLC.

            19.   The Relevant Non-Parties set forth above are not named as defendants in this

  action. This complaint does not seek to assert any claim or obtain any relief that falls within the

  exclusive jurisdiction of the pending bankruptcy proceeding or SEC enforcement action. This

  complaint does not involve any claim subject to the automatic stay of bankruptcy-related claims

  under 11 U.S.C. § 362(a).




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                                   JURISDICTION AND VENUE

            20.   This Court has jurisdiction over this action pursuant to the Class Action Fairness

  Act of 2005 (“CAFA”), Pub. L. No. 109-2, 119 Stat. 4; 28 U.S.C. § 1332(d)(2).

            21.   Plaintiffs are citizens of Florida and Nevada and Defendant Comerica is a citizen

  of Texas.

            22.   The amount in controversy exceeds $5,000,000 and there are at least one hundred

  members in the putative class.

            23.   The Court has personal jurisdiction over Comerica because it engages in substantial

  business activity in Florida, with several branch offices in South Florida including locations at 100

  NE 3rd Ave, Ft. Lauderdale, FL 33301; 1675 N. Military Trail, Boca Raton, FL 33486; 1 S. Federal

  Highway, Boca Raton, FL 33432; and 2800 Weston Rd., Weston, FL 33331 and because it aided

  and abetted Shapiro’s Ponzi scheme and misappropriation of investor funds in Florida.

  Woodbridge raised a substantial amount of investor funds from hundreds of Florida residents, and

  the Woodbridge entities employed twenty sales agents in the Southern District of Florida alone.

  Shapiro maintains an address in Florida; Woodbridge’s controller was based in Boca Raton,

  Florida; and the corporate affiliate of Woodbridge Group of Companies, LLC was based in Florida.

            24.   Venue is proper in this District under 28 U.S.C. § 1391 because Comerica transacts

  business and may be found in this District and is subject to personal jurisdiction and Plaintiff Baker

  is a Florida citizen.

            25.   All conditions precedent to this action have occurred, been performed, or have been

  waived.




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                                    FACTUAL ALLEGATIONS

                                The Woodbridge Investment Scheme

            26.   Robert Shapiro ran a Ponzi scheme using Woodbridge entities from July 2012

  through December 2017. Woodbridge raised money by issuing promissory notes to investors

  in exchange for funds that it would purportedly use to offer commercial real estate buyers high-

  interest mortgages, and through private placement subscription arrangements through which

  investors purchased units in Woodbridge funds. The promissory notes, or FPCMs, typically

  had terms of twelve to eighteen months and Woodbridge marketed them as paying 5%-8%

  annual returns on a monthly basis.

            27.   Once the twelve- to eighteen-month terms expired, and the time came to return

  investors’ principal, Woodbridge would encourage investors to roll their investments over into

  a subscription offering or another short-term promissory note. The subscription offerings—the

  “Fund Offerings”—typically had five-year terms, and were marketed as paying a 6%-10%

  annual return on a monthly basis and, at the end of five years, a 2% accrued dividend and share

  of the profits. Neither type of investment was ever registered with the SEC or another

  government agency.

            28.   Woodbridge represented to investors that it would use their funds for real estate

  acquisitions and investments, including in Woodbridge’s own FPCMs. Woodbridge told

  investors that it would pay their returns from the interest a Woodbridge affiliate would earn

  from the commercial estate buyers who had taken mortgages from a Woodbridge affiliate at

  rates of 11-15%. According to Woodbridge, these buyers were commercial property owners

  who could not obtain traditional loans and were willing to pay higher interest rates for short-

  term financing. Woodbridge told investors that their investment returns would be paid from


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  the third-party buyers’ interest payments, and promised them a first-position “lien” interest in

  the underlying properties, or priority over any other liens or claims on a property if the property

  owner defaulted. In fact, however, Woodbridge directly applied investor funds to pay other

  investors’ returns.

            29.   Woodbridge also assured investors that their “loans” carried little risk. The

  “loans” were purportedly secured by the underlying collateral—the commercial properties that

  the third-party buyers would purchase with their funds. Woodbridge assured investors that the

  borrowers would be obligated to repay their loans after one year, and that in the event of a

  default, Woodbridge would foreclose and recover the balance of the loan. Woodbridge also

  told investors that the third-party buyers had mortgaged only about two-thirds of the value of

  the real estate securing the transaction with Woodbridge, touting “low loan to value ratios that

  help protect lenders [the investors] when borrowers encounter distress” and ensuring that the

  “properties that secure the mortgages are worth considerably more than the loans themselves at

  closing.” Woodbridge further represented to investors that it had conducted all due diligence,

  including title search and appraisal, on the commercial property and borrower.2

            30.   Woodbridge employed a sales team of approximately thirty in-house employees

  who operated within Woodbridge’s offices. Woodbridge also relied on a network of hundreds

  of external sales agents to solicit investments from the public through television, radio, and

  newspaper advertising, cold calling, social media, websites, seminars, and in-person

  presentations. Virtually none of these sales agents were registered with any regulatory agency.




  2
     Woodbridge also told investors that it had another revenue source from “flipping” properties,
  i.e., buying them to develop and then sell for a profit.


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            31.    Woodbridge’s marketing materials included the following graphic purporting to

  explain the FPCMs:


                  Now is the time to forego old-fashioned wealth building solutions.
             Woodbridge Wealth wants to help you diversify your portfolio by participating in
                        the real estate revolution. What does that look like?




                                 Let us help you protect your
                                 retirement funds from market
                                 volatility. We succeed when you
                                 succeed. It's that simple.


            32.    The majority of the purported third-party borrowers—the “owner” and “property

  owner” in parts 2 and 3 of the above marketing graphic—were hundreds of Shapiro-owned and

  -controlled LLCs. The LLCs had no bank accounts or sources of income, and never made any

  loan payments to Woodbridge. Shapiro and his sales team concealed these facts from investors.

            33.    Shapiro supported Woodbridge’s business operations almost entirely by raising

  new investor funds and using them to pay returns to existing investors. Woodbridge raised at

  least $1.22 billion from FPCM and Fund Offering investors but issued only approximately $675

  million in “loans” for real estate purportedly securing the investments. Instead of generating
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   the promised 11-15% interest, the loans generated only $13.7 million from third-party

   borrowers— far less than required to operate Woodbridge’s business and pay investor returns.

   Notwithstanding this shortfall, Woodbridge paid investors more than $368 million in interest,

   dividends, and principal repayments. Woodbridge spent another $172 million on operating

   expenses, including $64.5 million for sales commissions and $44 million for payroll, and $21.2

   million to support Shapiro’s lavish lifestyle.

             34.   Shapiro needed a continuous infusion of new investor funds to keep the

   Woodbridge Ponzi scheme afloat. He also needed FPCM investors to roll their investments

   over at the end of the term, ideally into longer-term Fund Offerings, so that Woodbridge could

   avoid repaying the principal on their investments.

             35.   To generate more investments, Woodbridge aggressively promoted the FPCM

   notes by offering incentives to brokers who recommended these investments to their clients.

   Woodbridge also established a program called “Pass It On,” through which brokers were

   encouraged to inform their colleagues about the FPCM notes. Under that program, a referring

   broker would earn 25 basis points on each FPCM sale closed by a broker whom he or she

   referred.

             36.   Between July 2012 and December 2017, Woodbridge raised more than $1.22

   billion from more than 8,400 investors nationwide. On December 1, 2017, however, still owing

   more than $961 million in principal to investors, Woodbridge and Shapiro missed their first

   interest payments to investors. On December 4, 2017, Shapiro caused most of his companies to

   declare Chapter 11 bankruptcy.




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             Comerica Knowingly Provided Substantial Assistance to the Woodbridge Fraud

              37.   Shapiro ran his Ponzi scheme through Woodbridge accounts that he opened at

   Comerica Bank. Shapiro was the lone signatory for the Woodbridge accounts at Comerica,

   through which he ran more than a billion dollars in transactions, and insisted on signing all checks

   on Woodbridge’s behalf. He transferred investor funds freely among the Comerica accounts,

   commingled investor funds, and disbursed investor funds to other investors, his own accounts, and

   his wife’s accounts through thousands of account transactions at Comerica.

              38.   Shapiro could not have run his scheme undetected for so many years without

   Comerica’s knowing and substantial assistance. Federal laws and regulations require Comerica to

   “know its customers,” which includes gathering information about individuals who control

   accounts at the bank. The Bank Secrecy Act also requires Comerica to develop and maintain

   compliance and due diligence programs, which provide the bank with a means of identifying

   atypical or suspicious banking transactions for each customer. The higher the risk presented by a

   customer’s accounts, the higher the scrutiny the bank must exercise. Ultimately, banks and their

   personnel must be able to identify money-laundering “red flags,” including repetitive or unusual

   account activity, transfers of funds among related accounts, and transactions inconsistent with the

   accountholder’s business, and take appropriate action.3



   3
     Other examples of “red flags” listed in the Federal Financial Institutions Council’s BSA/AML
   Examination Manual include: (1) fund transfers sent or received from the same person to or from
   different accounts; (2) depositing of funds into several accounts that are later consolidated into a
   master account; (3) large fund transfers sent in round dollar amounts; (4) multiple accounts
   established in various corporate names that lack sufficient business purpose to justify the account
   complexities; (5) multiple high-value payments or transfers between shell companies without a
   legitimate business purpose; (6) payments without links to legitimate contracts; (7) fund transfers
   containing limited content and lacking related party information; (8) transacting business sharing
   the same address; and (9) an unusually large number of persons or entities receiving fund transfers
   from one company.
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             39.   The transactions that Shapiro ran through the Woodbridge account at Comerica

   were marked by indicia of fraud and should have raised numerous red flags for trained Comerica

   personnel. For example:

                   (a)   Shapiro’s insistence on serving as the sole signatory for accounts covering
                         thousands of transactions and signing all checks by hand was highly unusual
                         given the size and scope of the Woodbridge enterprise.

                   (b)   Shapiro transferred funds from separate fund accounts and commingled them
                         in a Woodbridge operating account, which he controlled. His commingling of
                         assets involved around $1.66 billion in transfers and nearly 11,000 Comerica
                         account transactions.
                   (c)   Shapiro used $368 in new investor funds held in Comerica accounts to pay
                         earlier investors in the Woodbridge Entities.
                   (d)   Shapiro applied funds from Woodbridge’s Comerica accounts toward $1.4
                         million on luxury retail purchases, $1.6 million on home furnishings, $1.2
                         million in alimony, $340,000 on luxury cars, and $400,000 on jewelry.
                   (e)   Woodbridge raised at least $1.22 billion from investors, most purportedly
                         secured by third-party mortgage loans, but issued only $675 million in such
                         loans. The loans generated only $13.7 million from bona fide third-party
                         borrowers, instead of generating the substantial interest promised, which was
                         much less than was required to operate Woodbridge’s business and pay
                         returns to the investors.
                   (f)   Shapiro used investor funds in Comerica accounts to purchase almost 200
                         properties in the Los Angeles and Aspen areas for around $675 million. The
                         net returns from those properties have been nominal, with many of the
                         properties remaining undeveloped. Woodbridge’s generous intake of investor
                         funds was not matched by corresponding real-estate development or lending.
                   (g)   Woodbridge made payments to Shapiro’s wife, Jeri, and her company,
                         Schwartz Media, from the Comerica accounts.
                   (h)   Woodbridge, a billion-dollar enterprise, relied on a controller in a Florida
                         satellite office who was not a certified public accountant.
   .
             40.   Despite these indicia of fraud, Comerica continued to provide Shapiro with the

   banking support and account platforms needed to carry out his scheme, and failed to report his

   fraudulent conduct or close his accounts, continuing to execute the transfers necessary to the




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   continuation of the fraud. This remained so even after state and federal proceedings had brought

   Woodbridge’s violations to light.

                                         The Fraud Emerges

             41.   State and federal regulators have investigated the Woodbridge fraud. Five state

   regulators have issued cease-and-desist or similar orders based on Woodbridge’s securities fraud

   and sales of unregistered securities, and several others have initiated proceedings against

   Woodbridge. The first state penalties were levied against Woodbridge entities in May of 2015.

             42.   The SEC has been investigating Shapiro and Woodbridge since at least September

   2016. The SEC’s investigation has focused on Woodbridge’s unregistered sale of securities and

   whether it “is operating a fraud on its investors.” Woodbridge has refused to cooperate with the

   SEC investigations.

             43.   On December 20, 2017, the SEC filed a civil complaint for injunctive and other

   relief against Shapiro, his wife Jeri, and numerous Woodbridge- and related entities in the Southern

   District of Florida, alleging that Shapiro had been running a Ponzi scheme through the Woodbridge

   entities, raising in excess of $1.22 billion and “falsely selling Woodbridge’s investments as ‘safe’

   and ‘secure.’” The SEC explained that Shapiro and Woodbridge had commingled investor funds

   in Woodbridge’s operating account immediately after deposit, and then used the funds to run his

   scheme by paying “interest” to earlier investors and paying commissions to his sales agents, among

   other things. The SEC alleges that Shapiro also spent more than $21 million of investor funds “on

   extravagant personal expenditures.”

             44.   The Court ordered a temporary asset freeze and sworn accounting of all

   Woodbridge accounts on December 20, 2017.




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             45.    The SEC does not seek restitution for the investors who face a substantial risk of

   losing their investments.

                                       The Woodbridge Bankruptcy

             46.    On December 4, 2017, Woodbridge declared bankruptcy under chapter 11 of title

   11 of the United States Code, 11 U.S.C. §§ 101-1532. Woodbridge has attempted to use this

   voluntary bankruptcy proceeding to procure a stay of the SEC subpoena enforcement actions.

             47.    Woodbridge stated in the bankruptcy action that it is now transitioning to an

   institutional fundraising model, and that it has removed Shapiro from control over the entities and

   replaced him with an independent manager. Nevertheless, Woodbridge agreed to keep on Shapiro

   as a consultant, pay him $175,000 per month, allow him to continue to use multi-million dollar

   Woodbridge-owned properties in Los Angeles and Aspen at below-market rents, and give him the

   authority to remove the supposedly independent manager.

             48.    In the bankruptcy proceeding, Woodbridge for the first time asserted the position

   that the FPCM noteholders, who comprise the vast majority of the creditors, with $750 million of

   debt outstanding, are in fact unsecured and should lose their entire investment. A footnote in the

   declaration of the newly appointed independent manager states:

             It appears that few, if any, Noteholders have taken proper steps to perfect their
             interest in the Notes pursuant to either of sections 9-312(a) or 9-313(a) of the
             Uniform Commercial Code (“UCC”), which provide that a security interest in
             promissory notes (such as the collateral securing the Notes) must be perfected by
             taking possession of the underlying notes or by the filing of a UCC-1 financing
             statement describing the underlying notes, respectively. The Debtors have
             confirmed that no Noteholder is in possession of any of the collateral securing the
             Notes. Further, on information and belief and based on an investigation, no
             Noteholder has filed a UCC-1 financing statement with respect to any of the
             collateral securing the Notes in Delaware, the jurisdiction of the Funds. It therefore
             appears that any security interests held by the Noteholders is avoidable, such that
             the Noteholders’ claims will ultimately be treated as unsecured claims in these



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             Chapter 11 Cases. The Debtors intend to commence adversary proceedings seeking
             the avoidance of these security interests.4

             49.       Woodbridge’s position in the foregoing respect contradicts its promises to the

   FPCM noteholders in its offering and promotional materials. Those materials make no mention of

   any need on the part of investors to “perfect” their security interests, but state unequivocally:

                      “Secured by commercial real estate”;

                      “Recorded first lien position”;

                      “Woodbridge hereby grants to the Lender a security interest in all of the

                       Woodbridge’s [sic] present and future right, title and interest in and to any and all

                       of [the collateral]”; and

                      “This note will be secured inter alia by the Collateral Assignment Documents upon

                       execution thereof.”

                                      Plaintiffs’ Woodbridge Investments

   Mark Baker

             50.       Plaintiff Mark Baker invested funds with Woodbridge on numerous occasions over

   the course of more than two years. He invested funds directly and through a self-directed

   Investment Retirement Account (“IRA”) held by Provident Trust Group (“Provident”).

             51.       Baker invested funds in Woodbridge Mortgage Investment Fund 3, LLC, directly

   with Woodbridge as follows:

                       (a) $25,000 on January 25, 2015, purportedly secured by a first-priority lien on
                           real property identified as “Hidden Ridge.”
                       (b) $25,000 on February 18, 2016, purportedly secured by a first-priority lien on
                           real property identified as “Saint Cloud Road.”



   4
       In re: Woodbridge Grp. of Cos., LLC, et al., No. 17-12560 (D. Del.) [D.E. 12] at, fn. 9.
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                    (c) $40,000 on December 9, 2016, purportedly secured by a first-priority lien on
                        real property identified as “Tanager Construction.”
                    (d) $35,000 on February 16, 2016, purportedly secured by a first-priority lien on
                        real property identified as “Sarbonne Road.”
                    (e) $35,000 on March 14, 2017, purportedly secured by a first-priority lien on
                        real property identified as “Sarbonne Road.”
             52.   Baker invested funds in Woodbridge Mortgage Investment Fund 3A, LLC directly

   with Woodbridge as follows:

                    (a) $25,000 on March 14, 2016, purportedly secured by a first-priority lien on
                        real property identified as “Carla Ridge Three.”

                    (b) $25,000 on April 28, 2016, purportedly secured by a first-priority lien on real
                        property identified as “Carla Ridge Three.”

             53.   Baker invested funds in Woodbridge Mortgage Investment Fund 3, LLC through

   his Provident IRA as follows:

                   (a)   $100,000 on February 16, 2016, purportedly secured by a first-priority lien
                         on real property identified as “Silverbrook Drive.”

                   (b)   $100,000 on February 16, 2016, purportedly secured by a first-priority lien
                         on real property identified as “Sarbonne Road.”
                   (c)   $104,500 on February 25, 2016, purportedly secured by a first-priority lien
                         on real property identified as “Laurel Way.”

                   (d)   $100,000 on May 31, 2016, purportedly secured by a first-priority lien on real
                         property also identified as “Silverbrook Drive.”
                   (e)   $50,000 on July 21, 2016, purportedly secured by a first-priority lien on real
                         property identified as “Walden.”
                   (f)   $100,000 on August 2, 2016, purportedly secured by a first-priority lien on
                         real property identified as “Hopkins Avenue.”
                   (g)   $100,000 on March 10, 2017, purportedly secured by a first-priority lien on
                         real property identified as “Sarbonne Road.”
                   (h)   $104,500 on March 24, 2017, purportedly secured by a first-priority lien on
                         real property identified as “Laurel Way.”




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             54.   After certain of Mr. Baker’s investments with Woodbridge reached the end of their

   one-year term, Mr. Baker reinvested the principal in a new FPCM or Fund Offering. All told, Mr.

   Baker invested more than $400,000 with Woodbridge.

             55.   Woodbridge represented to Mr. Baker that his investments were loans to

   Woodbridge, for which Woodbridge would grant him a security interest in, inter alia,

   Woodbridge’s right, title, and interest in the underlying mortgage loan, and the promissory note

   evidencing the mortgage loan. Woodbridge also represented to Mr. Baker that he would have

   “good and marketable title” to Woodbridge’s underlying loans to the purported third-party buyers;

   his funds would be used to offer a loan for commercial real estate to a third-party buyer; he would

   have a recorded first-lien position; his interest payments would be made from the higher rates paid

   by that buyer; and that his investment was secured by the collateral for the underlying loan.

             56.   At no time did Shapiro, Woodbridge, or any agent or employee thereof disclose to

   Mr. Baker that his funds would be allocated for purposes not authorized by Mr. Baker. Nor did

   Woodbridge or Shapiro, or any other representative or agent thereof, disclose to Mr. Baker that his

   “loan” was unsecured; his money would not be used for a loan to a third-party buyer in an arms’-

   length transaction; the purported third-party borrower would not pay interest on the “loan”; his

   investment would be commingled with other investors funds and used to propel the Woodbridge

   Ponzi Scheme forward; or that Woodbridge was not a legitimate enterprise, but instead a Ponzi

   scheme.

             57.   If these facts had been disclosed to Mr. Baker, he would not have invested his

   money with Woodbridge.

             58.   Mr. Baker first learned that Woodbridge was not a legitimate investment after

   Woodbridge declared bankruptcy in December 2017.

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             59.   Mr. Baker has been damaged in that all or a portion of the funds that he invested in

   Woodbridge Mortgage Investment Funds 3 and 3A were misused, commingled, and

   misappropriated by Woodbridge and Shapiro.

             60.   There are no material differences between Defendant’s actions and practices

   directed to Mr. Baker and its actions and practices directed to the Class.

   Cornerstone Growth
             61.   Plaintiff Cornerstone Growth invested $50,000 with Woodbridge Mortgage

   Investment Fund 3A, LLC on December 16, 2016, purportedly secured by a first-priority lien on

   real property identified as “Sarbonne Road.”

             62.   Woodbridge represented to Cornerstone Growth that its investment was a loan to

   Woodbridge, for which Woodbridge would grant it a security interest in, inter alia, Woodbridge’s

   right, title, and interest in the underlying mortgage loan, and the promissory note evidencing the

   mortgage loan. Woodbridge also represented to Cornerstone Growth that it would have “good and

   marketable title” to Woodbridge’s underlying loans to the purported third-party buyers; its funds

   would be used to offer a loan for commercial real estate to a third-party buyer; it would have a

   recorded first-lien position; its interest payments would be made from the higher rates paid by that

   buyer; and that its investment was secured by the collateral for the underlying loan.

             63.   At no time did Shapiro, Woodbridge, or any agent or employee thereof disclose to

   Cornerstone Growth that its funds would be allocated for purposes not authorized by it. Nor did

   Woodbridge or Shapiro, or any other representative or agent thereof, disclose to Cornerstone

   Growth that its “loan” was unsecured, the purported third-party borrower would not pay interest

   on the “loan,” its investment would be commingled with other investors funds and used to propel

   the Woodbridge Ponzi Scheme forward, or that Woodbridge was not a legitimate enterprise, but

   instead a Ponzi scheme.
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             64.   If these facts had been disclosed to Cornerstone Growth, it would not have invested

   its money with Woodbridge.

             65.   Cornerstone Growth first learned that Woodbridge was not a legitimate investment

   after Woodbridge declared bankruptcy in December 2017.

             66.   Cornerstone Growth has been damaged in that all or a portion of the funds that it

   invested in Woodbridge Mortgage Invest Fund 3A were misused, commingled, and

   misappropriated by Woodbridge and Shapiro.

             67.   There are no material differences between Defendant’s actions and practices

   directed to Cornerstone Growth and its actions and practices directed to the Class.

                        TOLLING OF THE STATUTES OF LIMITATIONS

             68.   Comerica, aware of the illegal Woodbridge scheme and its injurious effects,

   fraudulently concealed the scheme by failing to report it while continuing to execute account

   transactions on Woodbridge’s behalf.

             69.   Comerica, Woodbridge, and Shapiro fraudulently concealed from Plaintiffs and

   class members that the overwhelming majority of FPCMs and Fund Offerings were not secured

   by loans to holders of commercial real estate, that returns on FPCMs and Fund Offerings would

   be paid from similar investments, and only on condition that those future transactions occur, rather

   than from interest payments on the sham third-party loans described in the offering materials, that

   Shapiro was embezzling millions of dollars in investor funds for his own personal use and

   enjoyment, that Woodbridge and Shapiro had unlawfully failed to register the FPCM and Fund

   Offerings with government regulators, and that Woodbridge and Shapiro had entered into several

   consent decrees with governmental regulators requiring them to stop violating the law.




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             70.   Comerica, Woodbridge, and Shapiro were aware that Plaintiffs and class members

   did not know about the Woodbridge investment fraud. Comerica, Woodbridge, and Shapiro had

   superior and exclusive knowledge of that fraud. Despite reasonable diligence on their part,

   Plaintiffs and class members were kept ignorant by Comerica, Woodbridge, and Shapiro of the

   factual bases for these claims for relief.

             71.   The FPCM and Fund Offering sales materials contained misstatements designed to

   entice Plaintiffs and class members to purchase “safe” and “secured” investments with returns

   generated by third-party borrowers’ interest payments. These fraudulent misrepresentations had

   the effect of concealing that Woodbridge was, in fact, using only new investor funds as the source

   of existing investors’ returns.

             72.   Plaintiffs and class members reasonably relied to their detriment on Comerica,

   Woodbridge, and Shapiro’s fraudulent concealment of their violations. As a result of this

   concealment, Plaintiffs and class members did not believe that it was necessary to file a lawsuit.

             73.   Plaintiffs and class members did not discover, and exercising reasonable diligence

   could not have discovered, the facts establishing Comerica’s violations or the harm caused thereby

   until the SEC filed its enforcement action and the Woodbridge entities declared bankruptcy in

   December 2017. Plaintiffs learned of the relevant actions of Comerica, Woodbridge, and Shapiro

   through the bankruptcy and SEC actions and their coverage in the media. Only then did Plaintiffs

   retain counsel to vindicate their rights. Because Plaintiffs could not have reasonably discovered

   the facts constituting Comerica’s violations until December 2017, all applicable statutes of

   limitation were tolled until then.




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                                   CLASS ACTION ALLEGATIONS

             1.     Class Definitions

             74.    Plaintiffs bring this action against Comerica pursuant to Rule 23(a) and (b)(3) of

   the Federal Rules of Civil Procedure on behalf of themselves and all other persons similarly

   situated. Plaintiffs seek to represent the following classes:

             Nationwide Class

             All persons who invested in Woodbridge FPCM’s or Fund Offerings.

             Florida Subclass

             All persons residing in Florida who invested in Woodbridge FPCM’s or Woodbridge Fund
             Offerings.

             Nevada Subclass

             All persons residing in Nevada who invested in Woodbridge FPCM’s or Woodbridge Fund
             Offerings.

             75.    Excluded from the class are Defendant, its parents, affiliates, subsidiaries, agents,

   legal representatives, predecessors, successors, assigns, employees, any entity in which Defendant

   has a controlling interest or which has a controlling interest in Defendant, and the Relevant Non-

   Parties listed above.

             76.    Plaintiffs reserve the right to modify or amend the definitions of the proposed Class

   before the Court determines whether certification is appropriate.

             77.    The Class satisfies the requirements of Rule 23(a) and Rule 23(b)(3).The proposed

   classes are so numerous that joinder of all members would be impracticable.              There were

   approximately 8,400 investors nationwide, including more than 700 from the Southern District of




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   Florida alone.5

             78.     The proposed Class is ascertainable, as the names and addresses of all Class

   members can be identified in the information or business records maintained by Comerica or the

   Relevant Non-Parties.

             79.     Plaintiffs’ claims are typical of the claims of the other Class members. Plaintiffs

   and all other Class members invested in the Woodbridge investments at issue and were subject to

   the wrongful conduct alleged herein.

             80.     Plaintiffs are adequate representatives of the classes they seek to represent and will

   fairly and adequately protect the interests of those classes. Plaintiffs are committed to the vigorous

   prosecution of this action and have no conflicts or contrary interests to any unnamed Class

   members. Plaintiffs anticipate no difficulty in the management of this litigation as a class action.

             81.     Plaintiffs have retained competent counsel, experienced in class action and investor

   fraud litigation of this nature. Plaintiffs’ counsel have the financial and legal resources to meet

   the substantial costs that may be associated with this type of litigation.

             82.     Common questions of law and fact exist as to all members of the Class and

   predominate over any questions solely affecting individual members thereof. The common

   questions of law and fact to the class members include:

                     a. Whether Shapiro and Woodbridge committed fraud and breached duties to
                        Plaintiffs and members of the class;
                     b. Whether Comerica aided and abetted Shapiro and Woodbridge’s fraud and
                        breaches of their fiduciary duties to investors;
                     c. Whether Comerica knowingly disregarded atypical banking activity in and
                        among the Woodbridge accounts and other red flags that Shapiro and
                        Woodbridge were committing investor fraud, breaching fiduciary duties, and


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    Investors in the Southern District of Florida invested approximately $114 million with
   Woodbridge.
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                       misappropriating investor funds; and
                   d. Whether Plaintiffs and class members are entitled to damages based on their
                      investment losses.

             83.   A class action is superior to other available methods for the fair and efficient

   adjudication of this controversy because joinder of all Class members is impracticable. The

   prosecution of separate actions by individual members of the classes would impose heavy burdens

   upon the courts and Comerica, and would create a risk of inconsistent or varying adjudications of

   the common questions of law and fact. The factual issues in this case are complex and detailed,

   extend over several years, and relate to many transactions. Absent a class action, most members

   of the class would likely find the cost of litigating their claims individually to be prohibitively high

   and would have no effective remedy.

             84.   A class action would achieve substantial economies of time, effort, and expense,

   and would assure uniformity of decision as to persons similarly situated without sacrificing

   procedural fairness.

                                          CAUSES OF ACTION

                                               COUNT I
                                       Aiding and Abetting Fraud

             85.   Plaintiffs re-allege and incorporate paragraphs 1-75 as if fully set forth herein.

             86.   Shapiro and Woodbridge induced Plaintiffs and the class members to invest in

   Woodbridge by intentionally misrepresenting the nature of the investment and failing to disclose

   that Woodbridge was, in fact, a Ponzi scheme. Shapiro and Woodbridge told investors, inter alia,

   that (i) their invested funds would be used to offer short-term, high-interest loans to commercial

   third-party buyers; (ii) the loans offered to these buyers would feature low loan-to-value ratios that

   would protect investors and mitigate their risk; (iii) their funds were secured by the properties

   underlying the purported loans; and (iv) they would hold “first lien positions” in the underlying
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   properties, such that they would have priority over other liens or claims should the third-party

   borrower default on its mortgage loan.

             87.   These representations were materially false. In fact, Shapiro and Woodbridge

   commingled investor funds and directed them to pay off earlier investors, pay sales agent

   commissions, and fund Shapiro’s personal accounts, among other things; most of the “third-party

   borrowers” were Shapiro-owned LLCs that had no income and never made loan payments; and

   investors’ funds were unsecured and being used to fund Shapiro’s Woodbridge Ponzi scheme.

             88.   Shapiro and Woodbridge also failed to disclose to investors, inter alia, that (i)

   Shapiro and Woodbridge were commingling investor funds and paying earlier investors with funds

   obtained from later investors, and were operating a Ponzi scheme; (ii) Woodbridge had issued only

   $675 million of the $1.22 billion raised in loans; (iii) Shapiro was using investor funds to find his

   own personal accounts and make payments to his wife’s business; and (iv) their investments would

   be unsecured. These omissions were also material.

             89.   Plaintiff and class members justifiably relied on Shapiro and Woodbridge’s

   material misrepresentations and omissions when they invested with Woodbridge, and suffered

   losses as a result.

             90.   Comerica knowingly provided substantial assistance to Woodbridge and Shapiro in

   executing the Woodbridge Ponzi scheme and defrauding investors.               Among other things,

   Comerica:

                    a.     Accepted funds for deposit that were derived from the sale of unregistered
                           securities;
                    b.     Commingled investments from Woodbridge promissory note holders and
                           purchasers of fund offering units;
                    c.     Executed atypical banking procedures to service Shapiro’s complex series
                           of accounts, such as accommodating Shapiro’s insistence that he hand-sign
                           every check to investors and sales agents;

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                   d.      Carried out improper and atypical financial transactions such as the transfer
                           of approximately $1.66 billion via nearly 11,000 account transactions
                           among the Woodbridge accounts;
                   e.      Continued to service Woodbridge accounts after five state regulatory
                           agencies determined that Shapiro was engaged in unlawful conduct and
                           served him with cease-and-desist orders
                   f.      Failed to identify, monitor, or exercise due diligence related to the
                           regulatory and compliance “red flags” identified herein;
                   g.      Failed to implement and adhere to compliance and monitoring protocols
                           concerning the use of Plaintiffs’ and class members’ investment funds;
                   h.      Failed to identify, monitor, or exercise required due diligence in relation to
                           the existence or nonexistence of bona fide third-party borrowers; and
                   i.      Failed to prevent, report, or otherwise take corrective action in response to
                           Shapiro’s misappropriation and misuse of investor funds.

             91.   In connection with providing substantial and material assistance to Shapiro and

   Woodbridge, Comerica was aware of its role in the Woodbridge Ponzi scheme and acted

   knowingly in assisting Woodbridge and Shapiro.

             92.   Comerica substantially benefited from its participation in the Woodbridge Ponzi

   scheme. The scheme caused Comerica to earn income from fees and from investing the capital

   Woodbridge investors had deposited.

             93.   As a direct and proximate result of Comerica’s aiding and abetting of fraud,

   Plaintiffs and class members have been damaged in an amount to be determined at trial.

                                             COUNT II
                            Aiding and Abetting Breach of Fiduciary Duty

             94.   Plaintiffs re-allege and incorporate paragraphs 1-75 as if fully set forth herein.

             95.   At all relevant times, Shapiro was the CEO of Woodbridge and the trustee of the

   RS Protection Trust.

             96.   At all relevant times, Shapiro maintained complete or substantially complete

   control over the Woodbridge Group of Companies and each of the Woodbridge investment funds.

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   Shapiro had complete control, and was the sole signatory for, the Comerica bank accounts in which

   investor funds were deposited. Shapiro also wrote investors personally, characterizing collateral

   as “senior” and promising them satisfactory returns.

             97.    By reason of his controlling positions, actions, and direct and indirect

   representations to Plaintiffs and class members, Shapiro owed them fiduciary duties of loyalty,

   care, and to deal honestly and in good faith. By selling Plaintiffs and class members promissory

   notes and fund offerings pursuant to false offering materials, and by misappropriating,

   commingling, and otherwise misusing investor funds, Shapiro breached fiduciary duties he owed

   to Plaintiffs and class members.

             98.    Comerica substantially assisted in Shapiro’s breaches of fiduciary duty with

   knowledge that Shapiro was breaching those duties.

             99.    As a direct and proximate result of Comerica’s aiding and abetting of breach of

   fiduciary duty, Plaintiffs and class members have been damaged in an amount to be determined at

   trial.

                                                 COUNT III
                                                 Negligence

             100.   Plaintiffs re-allege and incorporate paragraphs 1-75 as if fully set forth herein.

             101.   Shapiro and Woodbridge deposited customer funds from Plaintiffs and class

   members into Comerica bank accounts.

             102.   Comerica knew or should have known that funds raised from Woodbridge investors

   constituted investor funds. Comerica knew or should have known that it was subject to various

   common law and regulatory requirements related to monitoring accounts at Comerica, including

   regulations issued to prevent money laundering and other illicit behavior.



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             103.   Comerica owed a duty to Plaintiffs and class members to take reasonable care with

   regard to the maintenance and use of investor funds on deposit at Comerica. As set forth more

   fully above, Comerica breached this duty of care by, among other things:

                    a.      Failing to employ reasonable care in connection with the maintenance and
                            use of Woodbridge investor fund;
                    b.      Failing to identify, monitor, or exercise requisite due diligence related to
                            the discrepancies and inconsistencies that characterized Shapiro and
                            Woodbridge’s deposits and outlays of investor funds;
                    c.      Failing to implement and adhere to compliance and monitoring protocols
                            concerning Shapiro and Woodbridge’s maintenance and use of investor
                            funds;
                    d.      Failing to identify, monitor, or exercise requisite due diligence related to
                            the regulatory and compliance “red flags” detailed herein, including after
                            the issuance and publication of several state cease-and-desist and consent
                            orders;
                    e.      Failing to prevent or take any appropriate action in response to Shapiro and
                            Woodbridge’s use of funds from new investors to pay sums owed to earlier
                            investors;
                    f.      Failing to prevent or take any appropriate action in response to Shapiro’s
                            embezzlement of investor funds for personal luxuries;
                    g.      Causing and allowing investor funds to be misappropriated and misused;
                            and
                    h.      Failing to notify investors or any governmental entity or regulator of
                            Shapiro and Woodbridge’s misappropriation and misuse of investor funds.

             104.   As a direct and proximate result of Comerica’s breach of duty, Plaintiffs and class

   members have been damaged in an amount to be determined at trial.

                                        PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs, on behalf of themselves and all similarly situated individuals,

   demand judgment against Defendant as follows:

              (1)   Declaring this action to be a proper class action maintainable pursuant to Rule 23(a)

   and Rule 23(b)(3) of the Federal Rules of Civil Procedure, and declaring Plaintiffs and their

   counsel to be representative of the Classes sought in this Complaint;
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             (2)     Awarding damages or restitution, including pre-judgment interest on each count;

             (3)     Awarding reasonable attorneys’ fees and costs of litigation; and

             (4)     Awarding such other and further relief the Court deems just and proper.

                                       DEMAND FOR JURY TRIAL

             Plaintiffs request a jury trial for all Counts that the law permits a jury to decide.

   Respectfully submitted this 12th day of March, 2018.

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